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 15
 16                           UNITED STATES DISTRICT COURT
 17                         CENTRAL DISTRICT OF CALIFORNIA
 18                                   EASTERN DIVISION
 19
      INNOVATIVE NUTRACEUTICALS, )                No. EDCV 18-1400
 20   LLC, on behalf of itself and all others )
      similarly situated,                     )
 21                                           )   CLASS ACTION COMPLAINT
                    Plaintiff,                )
 22                                           )   5 U.S.C. §701, et seq.
                           v.                 )
 23                                           )
      UNITED STATES OF AMERICA, and )
 24   JEFFERSON B. SESSIONS, in his )             [Jury Demand]
      official capacity as United States )
 25   Attorney General,                       )
                                              )
 26                        Defendants.        )
      ________________________________ )
 27
 28
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  1         Plaintiff INNOVATIVE NUTRACEUTICALS, LLC (“Plaintiff”), on behalf of
  2   itself and all others similarly situated, hereby files this Class Action Complaint against
  3   the above-named Defendants, and alleges:
  4                                       BACKGROUND
  5         1.       This case involves the importation of crushed plant material constituting
  6   “industrial hemp,” which is a source of cannabidiol (“CBD”), a compound found in
  7   industrial hemp, which has been effective in treating numerous diseases and has been
  8   used in medicine for generations. Industrial hemp is a strain of cannabis plant, but with
  9   markedly different legal status than what is commonly referred to in federal law as
 10   “marijuana.”
 11         2.       CBD is one of over 60 compounds found in cannabis that belong to a class
 12   of ingredients called cannabinoids.      Until recently, tetrahydrocannabinol (“THC”)
 13   received particular attention as the ingredient in cannabis that produces mind-altering
 14   effects in users. CBD, on the other hand, has no pyschoactive effects, although it can be
 15   found in strains of cannabis that also have significant THC.
 16         3.       CBD is a major nonpsychoactive component of Cannabis Sativa. CBD acts
 17   as an anti-inflammatory, anticonvulsant, antioxidant, antiemetic, anxiolytic and
 18   antipsychotic agent, and is therefore a potential medicine for the treatment of
 19   neuroinflammation and certain kinds of chronic pain, epilepsy, diabetes, oxidative injury,
 20   vomiting and nausea, panic disorder, obsessive compulsive disorder, post-traumatic
 21   stress disorder and schizophrenia. Pretreatment with CBD can significantly reduce
 22   anxiety, cognitive impairment and discomfort in speech performance.
 23         4.       Several scientific reports also have demonstrated that the use of CBD can
 24   inhibit the growth of different breast tumor cell lines. Data also suggests it can be used
 25   to inhibit the invasion of lung and colon cancer, and possesses anti-tumor properties in
 26   gliomas and has been used to treat leukemia.
 27         5.       Marijuana is classified as a Schedule 1 drug by the federal government.
 28                                               2
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  1   Schedule 1 drugs are alleged to have a high potential to create severe psychological or
  2   physical dependence. Numerous experts have disputed this classification for years. As
  3   a result, in 1996 California voters passed Proposition 215, allowing for the use of
  4   medical marijuana. Since then, at least 27 more states, plus the District of Columbia,
  5   Guam and Puerto Rico, have enacted similar laws that allow for comprehensive public
  6   medical marijuana and cannabis programs. Many of those states did so specifically
  7   because of the health benefits of CBD and, in fact, some states only allow consumption
  8   of CBD as part of their programs.
  9          6.    Accordingly, 17 states more recently have approved the use of low THC,
 10   high CBD products for medical reasons in limited situations: Alabama, Florida, Georgia,
 11   Iowa, Kentucky, Louisiana, Mississippi, Missouri, North Carolina, Oklahoma, South
 12   Carolina, Tennessee, Texas, Utah, Virginia, Wisconsin, and Wyoming. Each state has
 13   specific requirements and conditions that need to be followed to use CBD legally, such
 14   as patient registry requirements and definitions of products that are allowed
 15          7.    As a consequence of this classification of Marijuana as a Schedule I
 16   controlled substance, the federal government has erroneously painted the cannabis plant
 17   and its component parts with a broad brush of illegality without regard to the nuances.
 18   As discussed below, this has led to the federal government, including the Customs and
 19   Border Patrol divisions of the Department of Homeland Security, effectively treating
 20   CBD as illegal, even though it is not illegal and not a Schedule I controlled substance.
 21                                     INTRODUCTION
 22          8.    Plaintiff, which imports crushed industrial hemp material and produces and
 23   markets CBD products from that material, herein challenges, along with the class, the
 24   defendant government’s repeated and improper detention, seizure, forfeiture and/or
 25   destruction of imported shipments of crushed hemp materials that are lawful under
 26   federal law, and its arbitrary, capricious and inconsistent approach to enforcement of the
 27   law.
 28                                               3
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  1         9.     The crushed industrial hemp plant materials contained in these shipments
  2   are not prohibited by the federal Controlled Substances Act (“CSA”).                 While
  3   “Marijuana” is classified as a Schedule I substance under the CSA, its definition
  4   explicitly exempts specific portions of the plant from the CSA. Moreover, the CSA does
  5   not categorize CBD as a Schedule I controlled substance.
  6         10.    “Marijuana” is defined in the CSA as: “all parts of the plant Cannabis sativa
  7   L., whether growing or not; the seeds thereof; the resin extracted from any part of such
  8   plant; and every compound, manufacture, salt, derivative, mixture, or preparation of such
  9   plant, its seeds or resin. Such term does not include the mature stalks of such plant, fiber
 10   produced from such stalks, oil or cake made from the seeds of such plant, any other
 11   compound, manufacture, salt, derivative, mixture, or preparation of such mature stalks
 12   (except the resin extracted therefrom), fiber, oil, or cake, or the sterilized seed of such
 13   plant which is incapable of germination.” 21 U.S.C. §802(16).
 14         11.    Plaintiff’s shipments consist and have consisted entirely of crushed seed and
 15   stalk material cultivated from industrial hemp lawfully grown in Spain. Because this
 16   industrial hemp material constitutes and constituted exempt portions of the cannabis
 17   plant, it does not meet the definition of marijuana in 21 U.S.C. §802(16) and is legal to
 18   import.
 19         12.    Documentation provided by Plaintiff’s shipper accompanying each shipment
 20   demonstrates that the material in each package was cultivated from seeds certified as
 21   industrial hemp in Spain. This means, by necessity, that the material had less than 0.3%
 22   of THC. This also would qualify the product as industrial hemp in the United States,
 23   making it exempt from the application of the CSA under the 2014 Farm Bill, 7 U.S.C.
 24   §7606.
 25         13.    The U.S. Ninth Circuit Court of Appeals has held that the CSA exempts
 26   “non-psychoactive hemp” from the definition of “marijuana.” Hemp Indus. Ass’n v.
 27   Drug Enforcement Admin. (“Hemp Industries II”), 333 F.3d 1012, 1013 n.2 (9th Cir.
 28                                                4
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  1   2003)(“We refer to hemp stalks, fiber, oil and cake made from hemp seed, and sterilized
  2   hemp seed itself – i.e., those substances excluded from the definition of marijuana under
  3   21 U.S.C. § 802(16) – as ‘non-psychoactive hemp.’”).
  4         14.    Although exempt portions of the marijuana plant are prohibited from
  5   cultivation in the United States under federal law – due to its classification as marijuana
  6   – there is no prohibition against importing industrial hemp derived from the exempt
  7   portions. Kiczenski v. Ashcroft, 2006 WL 463153, *3 (E.D. Cal. 2006); Limbach v.
  8   Hooven & Allison Co., 466 U.S. 353, 355 (1984)(stating that hemp fibers “are not grown
  9   in the United States and must be imported”).
 10         15.    Accordingly, although historically it has not been legal under federal law
 11   to cultivate the legally exempt plant materials in the United States, it is lawful to import
 12   exempt portions of such plants from other countries where such cultivation is legal.
 13         16.    The fact that these imported crushed hemp plant materials may test positive
 14   for trace amounts of THC does not make them illegal to import into, or to possess or sell
 15   in, the United States. The Ninth Circuit has determined that naturally occurring THC
 16   contained in exempt portions of the marijuana plant is not illegal under the CSA. Hemp
 17   Industries II, at 1018.
 18         17.    The U.S. Drug Enforcement Agency (“DEA”) recently acknowledged the
 19   legality of cannabinoids found in exempt plant material on its official website:
 20         If a product consisted solely of parts of the cannabis plant excluded from
            the CSA definition of marijuana, such product would not be included in the
 21         new drug code (7350) [for marijuana extract] or in the drug code for
            marijuana (7360). . . . [I]f a product, such as oil from cannabis, consisted
 22         solely of parts of the cannabis plant excluded from the CSA definition of
            marijuana, such product would not be included in the new drug code (7350)
 23         or in the drug code for marijuana (7360), even if it contained trace
            amounts of cannabinoids.
 24
      Clarification     of      the   New   Drug   Code    (7350) for      Marijuana     Extract,
 25
      h ttps://www.deadiversion.usdoj.gov/schedules/marijuana/m_extract_7350.html
 26
      (emphasis added).
 27
 28                                                5
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  1         18.    Industrial hemp has been defined in Europe for years as having 0.3% THC
  2   or less. In 2014, Congress adopted the same THC threshold percentage in legalizing
  3   industrial hemp. 7 U.S.C. §5940(b)(2) (“The term ‘industrial hemp’ means the plant
  4   Cannabis sativa L. and any part of such plant, whether growing or not, with a delta-9
  5   tetrahydrocannabinol concentration of not more than 0.3 percent on a dry weight basis.”)
  6   This definition emphasizes the fact that cannabis plant strains containing 0.3% of THC
  7   or less are not considered to be marijuana under federal law and are therefore, lawful to
  8   cultivate and possess in the United States since they are not subject to the CSA.
  9         19.    Plaintiff does not dispute that the materials in the shipments the government
 10   seized may have tested positive for trace amounts of THC, since test results from the
 11   shipper itself have indicated that the hemp material tested positive for up to 0.2% THC.
 12         20.    Defendants have admitted that trace amounts of THC do not render plant
 13   material illegal under the CSA. In Hemp Indus. Ass’n v. Drug Enforcement Admin., No.
 14   17-70162 (currently pending before the Ninth Circuit), the government’s answering brief
 15   judicially admitted that “[t]he statutory definition of marijuana expressly excludes ‘the
 16   mature stalks of the cannabis plant, fiber produced from such stalks, oil or cake made
 17   from the seeds of such,’” among other derivatives. (Id., Resp. Br. at 4.)
 18         21.    Defendants further conceded, in the context of explaining the DEA’s
 19   December 2016 rule regarding how to classify marijuana extracts, that where trace
 20   amounts of THC are found in plant materials, that does not render the material illegal
 21   under the CSA: “To the extent that a product consisting solely of exempt parts of the
 22   cannabis plant contained trace amounts of cannabinoids, such product would not be
 23   included in the new drug code.” (Id., Resp. Br. at 26-27).
 24         22.    As shown herein, the material in Plaintiff’s shipments were derived from
 25   exempt plant material and contained only trace amounts of THC at or below the 0.3%
 26   threshold. As a result, the government in certain instances used the CBD content as an
 27   alleged basis to seize Plaintiff’s shipments, even though the CBD in those shipments was
 28                                               6
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  1   not illegal. Thus, there was and is no basis for seizing Plaintiff’s shipments and/or
  2   forfeiting them to the government.
  3         23.    Plaintiff and its vendors in Spain have disclosed the contents of their
  4   shipments to the regulatory authorities in Spain and the United States to ensure that they
  5   are lawful and properly delivered. For example, before effectuating its initial shipment
  6   from Spain in 2015, Plaintiff applied to the U.S. Department of Agriculture (“DOA”) for
  7   a permit to import industrial hemp materials. In response, DOA’s Animal and Plant
  8   Health Inspection Service informed Plaintiff that no permit was required for the lawful
  9   shipment of these materials.
 10         24.    Consequently, since Plaintiff’s hemp shipments do not contain controlled
 11   substances according to the CSA’s definition of marijuana and therefore are legal,
 12   Plaintiff and the class members hereby seek: a) declaratory and injunctive relief ordering
 13   the Defendant government to not detain, seize or destroy any shipments of hemp plant
 14   materials that contain 0.3% or less of THC, regardless of the CBD content; b)
 15   alternatively, declaratory and injunctive relief ordering the Defendant government to
 16   provide owners of shipped hemp plant materials with notice within seven (7) days of
 17   detention and/or seizure, and the opportunity for a hearing to contest the detention and/or
 18   seizure within 30 days of notice of the detention and/or seizure; c) declaratory and
 19   injunctive relief ordering the Defendant government to immediately return all shipments
 20   currently under detention and/or seizure that contain 0.3% or less of THC, regardless of
 21   the CBD content; and d) reimbursement for the value of all such shipments containing
 22   0.3% or less of THC that were forfeited or destroyed by the government regardless of the
 23   CBD content during the six years preceding the filing of this Complaint.
 24                               JURISDICTION AND VENUE
 25         25.    This is a class action brought against the United States of America pursuant
 26   to Federal Rule of Civil Procedure 23, 5 U.S.C. §701 et seq., the Fifth Amendment Due
 27   Process Clause of the United States Constitution, and 28 U.S.C. §1346(a)(2), inter alia.
 28                                                7
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  1         26.     This Court has jurisdiction over this action under 28 U.S.C. §§1331 and
  2   1346(a)(2).
  3         27.     Venue as to each Defendant is proper in this district pursuant to 28 U.S.C.
  4   §1391(b)(1), (2) and (3) and (e)(1)(B) and (C).
  5                                 PERSONS AND ENTITIES
  6         28.     The representative Plaintiff is a limited liability corporation residing in the
  7   County of Riverside, State of California, and registered in the State of California. The
  8   acts the Defendant government suffered upon the Plaintiff are similar to the acts the
  9   Defendant government suffered upon the other class members as set forth hereinafter.
 10         29.     Defendant United States of America is an entity of the government of the
 11   United States of America. Defendant Jefferson B. Sessions is the Attorney General of
 12   the United States.
 13                             CLASS ACTION ALLEGATIONS
 14         30.     This action is properly maintainable as a class action because: a) the class
 15   is so numerous that joinder of all members is impracticable, b) there are questions of law
 16   or fact common to the class, c) the claims or defenses of the representative party are
 17   typical of the claims or defenses of the class, and d) the representative party will fairly
 18   and adequately protect the interests of the class, pursuant to the requirements of Federal
 19   Rule of Civil Procedure 23(a), and as set forth in detail below.
 20         31.     The class members are easily ascertainable and are within the knowledge
 21   of the Defendants named herein. The representative Plaintiff brings this action on behalf
 22   of itself and as a class action on behalf of the class, defined as follows:
 23                 Class A: All persons and/or entities from whom a shipment
                    of hemp plant materials that contained CBD and/or contained
 24                 0.3% or less of THC was detained or seized for forfeiture or
                    destruction by the Defendant United States of America, on or
 25                 after six years preceding the date of the filing of Plaintiff’s
                    class action Complaint, within the jurisdiction of the United
 26                 States of America.
 27                 Class B: All persons and/or entities from whom a shipment
 28                                                8
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  1                of hemp plant materials that contained CBD and/or contained
                   0.3% or less of THC is detained or seized for forfeiture or
  2                destruction in the future by the Defendant United States of
                   America, within the jurisdiction of the United States of
  3                America.
  4         32.    The Defendant government’s actions have affected the property rights of
  5   numerous class members throughout the country, making the class so numerous that
  6   joinder of all members is impracticable. Because the class members may be identified
  7   from records regularly maintained by the government and its employees and agents, the
  8   number and identity of the class members can be easily ascertained through the
  9   Defendants’ own records.
 10         33.    The claims and defenses of the class representatives are typical of the class,
 11   in that their property rights were affected by the Defendant government’s above-
 12   described improper actions, and the representative Plaintiff, like all class members, was
 13   similarly harmed by the same systematic and pervasive pattern of conduct engaged in by
 14   the government.
 15         34.    The representative Plaintiff will fairly and adequately represent and protect
 16   the interests of the members of the class, and has retained counsel who are competent
 17   and experienced in the areas of the Controlled Substances Act, asset forfeiture law,
 18   federal civil litigation and class action litigation in federal court. There are no material
 19   conflicts between the claims of the representative Plaintiff and the members of the class
 20   that would make class certification inappropriate. Counsel for the class will vigorously
 21   assert the claims of all class members.
 22         35.    This class action is superior to all other methods for the fair and efficient
 23   adjudication of this controversy, because joinder of all class members is impracticable.
 24   Furthermore, the expense and burden of individual actions makes it practically
 25   impossible for the class members to individually redress the wrongs they have suffered
 26   or may suffer or continue to suffer in the future if the above practice is maintained.
 27   There will be no difficulty in managing this case as a class action.
 28                                                9
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   1         36.   The following questions of law or fact common to the members of the class
   2   predominate over any questions affecting only individual members:
   3               a.     As to all persons or entities who shipped hemp
                          plant materials containing CBD and/or 0.3% or
   4                      less of THC into the jurisdiction of the United
                          States of America, and the materials have been
   5                      detained or seized by the government but not
                          destroyed, whether the government should be
   6                      required to immediately return all said materials
                          forthwith;
   7
                   b.     As to all persons or entities who ship hemp plant
   8                      materials containing CBD and/or 0.3% or less of
                          THC into the jurisdiction of the United States of
   9                      America in the future, whether the government
                          should be prohibited from detaining, seizing or
  10                      destroying said shipments;
  11               c.     As to all persons or entities who ship hemp plant
                          materials containing CBD and/or 0.3% or less of
  12                      THC into the jurisdiction of the United States of
                          America in the future, whether the government
  13                      should be required to provide owners of said
                          shipped materials with notice within seven (7)
  14                      days of detention and/or seizure, and the
                          opportunity for a hearing to contest the detention
  15                      and/or seizure within 30 days of receipt of the
                          notice; and/or
  16
                   d.     As to persons from whom shipments of hemp
  17                      plant materials containing CBD and/or 0.3% or
                          less of THC were detained or seized for
  18                      forfeiture or destruction by the Defendant United
                          States of America during the six years preceding
  19                      the filing of this Complaint, within the
                          jurisdiction of the United States of America,
  20                      whether the government should reimburse the
                          owners of the materials for the loss of the fair
  21                      market value of said shipments.
  22        37.    This action is properly maintainable as a class action because the prosecution
  23 of separate actions by individual members of the class would create a risk of inconsistent
  24 or varying adjudications with respect to individual members of the class, which would
  25 establish incompatible standards of conduct for the parties opposing the class.
  26        38.    This action also is properly maintainable as a class action because the
  27 Defendants have acted or refused to act on grounds generally applicable to the class, and
  28                                              10
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   1 such conduct is likely to reoccur against Plaintiffs and the class, thereby making
   2 appropriate final injunctive relief or corresponding declaratory relief with respect to the
   3 class as a whole.
   4        39.   Because the names and addresses of the class members are in the possession
   5 and control of the Defendants, and not within Plaintiff’s control, notice to the class
   6 members should be sent by the Defendants.
   7                 SPECIFIC ACTS GIVING RISE TO THIS ACTION
   8                     2015 Seizure and Destruction of Plaintiff’s Shipment
   9        40.   On November 30, 2015, Plaintiff imported hemp plant materials containing
  10 0.3% or less of THC from L&M Natural Hemp in Spain. The materials arrived at Los
  11 Angeles International Airport (“LAX”) on December 6, 2015, and were seized by the
  12 Department of Homeland Security (“DHS”).
  13        41.   The shipment consisted of four packages totaling 31 kilograms of ground
  14 industrial hemp plant material grown in Spain. The U.S. Department of Customs and
  15 Border Protection (“Customs”) purportedly tested the shipment and found that it tested
  16 positive for CBD.
  17        42.   Customs seized       the crushed     hemp    plant materials     under case
  18 #2016-2720-00008901. As explained above, however, the materials in the shipment were
  19 not prohibited by the CSA because CBD is not a Schedule I controlled substance and
  20 because not even trace amounts of THC were detected. Accordingly, on October 28,
  21 2016, Plaintiff filed a petition with Customs for administrative review of the seizure.
  22        43.   Customs did not respond until nearly seven months later, when it denied
  23 Plaintiff’s petition, stating that after consultation with the DEA, it determined that “CBD
  24 is a naturally occurring constituent of marijuana” and thus meets the definition of
  25 marijuana under the CSA. It further concluded that “hemp flowers” are not “sterilized
  26 seed” and therefore not excluded from the definition of marijuana. Customs, however,
  27 provided no evidence that “hemp flowers” were contained within the materials or
  28                                             11
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   1 evidence of the alleged percentage of THC in the shipment. Moreover, the contention
   2 that CBD is a naturally occurring constitute of marijuana does not make sense; although
   3 CBD is a cannabinoid derived from the cannabis plant, that does not equate to being
   4 “marijuana” within the meaning of the CSA, since it can be derived from industrial hemp.
   5         44.   Customs did not provide Plaintiff with notice and the opportunity to be heard
   6 to contest this determination, but instead stated that “this seizure is no longer subject to
   7 the administrative process and will be immediately subject to appropriate disposition.”
   8 Plaintiff believes that the government destroyed the hemp materials contained in this
   9 shipment.
  10                    2017 Seizure and Destruction of Plaintiff’s Shipment
  11         45.   On or about January 25, 2017, in Newark, New Jersey, Defendants seized
  12 from Plaintiff another shipment from Spain of industrial crushed hemp material, however
  13 Defendants did not provide any notice of any forfeiture proceedings or an opportunity for
  14 Plaintiff to challenge the seizure.
  15         46.   On March 3, 2017, after investigating the matter with the carrier and
  16 realizing Customs had seized the shipment, Plaintiff e-mailed Customs inquiring why the
  17 shipment was seized and about the status (FP&F seizure # 2017460110152901).
  18         47.    Plaintiff’s inquiry was referred to Customs’ Fines, Penalties & Forfeitures
  19 division in Newark.
  20         48.   It was only after several weeks of attempts to make contact with that office
  21 that Plaintiff learned on April 7, 2017 that the shipment had been destroyed by
  22 Defendants because it allegedly tested positive for marijuana.
  23         49.   Defendants failed to provide Plaintiff with notice and the opportunity for a
  24 hearing to contest the seizure or destruction of its property. Defendants, however,
  25 informed Plaintiff that no notice had to be provided to Plaintiff because of the positive
  26 test.
  27         50.   As shown herein, however, the crushed hemp materials in the shipment were
  28                                              12
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   1 not prohibited by the CSA.
   2        51.    Plaintiff requested reimbursement by Defendants for the destroyed property,
   3 along with copies of all documents concerning the seizure and destruction of its property,
   4 including investigative and lab reports, to no avail.
   5                 2017 Detention/Seizure of Plaintiff’s Additional Shipment
   6        52.    In 2017, Plaintiff arranged for another shipment to LAX from Natural Hemp
   7 in Spain, on LOT Polish Airline. This shipment consisted of crushed hemp plant material
   8 containing 0.3% or less of THC.
   9        53.    The shipment apparently was detained by Customs on or about November
  10 25, 2017, purportedly for testing.
  11        54.    Customs did not provide Plaintiff with notice of this detention. It was not
  12 until approximately February 1, 2018, that Plaintiff learned from the shipping broker that
  13 the shipment was seized by Customs. During the interim months, Plaintiff attempted
  14 several times to obtain information about the shipment and to find someone with whom
  15 to communicate about the legality of the shipment’s contents. Numerous messages were
  16 not returned in Plaintiff’s futile effort to find a point of contact within Customs.
  17        55.    Plaintiff eventually learned the shipment was assigned Seizure #2018-2720-
  18 00009501, and was informed by Customs in a February 26, 2018 email that Customs
  19 would not provide Plaintiff with a formal notice of the seizure, and instead, already had
  20 “summarily forfeited” the materials because unspecified “testing” allegedly revealed the
  21 presence of “THC extracts” in the substance being imported.
  22        56.    Plaintiff immediately notified Customs by email that it intended to contest
  23 forfeiture since the presence of small amounts of THC does not by itself make the hemp
  24 material illegal. Plaintiff further notified Customs not to destroy the materials because
  25 it intended to appeal Customs’ determination.
  26        57.    After receiving no response from Customs, on March 8, 2018 Plaintiff sent
  27 another email to Customs asking whether the shipment had been destroyed and, if so,
  28                                              13
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   1 when.
   2         58.   Plaintiff also requested a copy of the test results referred to in Customs’
   3 email, however Customs never responded to Plaintiff’s inquiry.
   4         59.   Plaintiff believes that its property has been destroyed, although Defendants
   5 failed to provide Plaintiff with notice and the opportunity for a hearing to contest the
   6 detention/destruction of its property.
   7                              2018 Seizure of Plaintiff’s Shipment
   8         60.   Another shipment of Plaintiff’s hemp plant materials containing 0.3% or less
   9 of   THC was        seized    at   the    Louisville,   Kentucky    airport,   Customs   case
  10 #2018-4196-101136701. This shipment also was imported from Natural Hemp in Spain,
  11 through United Parcel Service (“UPS”).
  12         61.   On or about March 14, 2018, this shipment was intercepted by DHS. The
  13 shipment consisted of 50 kilograms of crushed industrial hemp plant material grown in
  14 Spain, which was exactly stated on the UPS Import Shipment Detail.
  15         62.   Plaintiff believes Customs purportedly tested the shipment and found that
  16 it tested positive for delta-9-tetrahydrocannabinol, i.e., THC.
  17         63.   After Customs agreed not to destroy the materials, on April 17, 2018 Plaintiff
  18 filed an administrative petition seeking return of the shipment, and its preservation for
  19 further testing. On June 20, 2018, Plaintiff received a response to the petition from CBP
  20 stating that the shipment “may be” released to Plaintiff, only on the condition that
  21 Plaintiff a) submit a notarized “Hold Harmless Agreement” (agreeing not to sue CBP for
  22 its damages relating to this improper seizure), and then b) either pay for the government’s
  23 private storage contractor’s delivery fees for the return of its shipment or incur its own
  24 costs to pick up the shipment from the contractor in Dayton, New Jersey.
  25                                          Future Shipments
  26         64.   It is Plaintiff’s intention to continue shipping crushed industrial hemp plant
  27 materials containing 0.3% or less of THC, and CBD, from Spain. Plaintiff fears that
  28                                                14
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   1 Customs will continue to detain, seize, summarily forfeit and/or destroy these shipments
   2 without providing Plaintiff with notice and an opportunity for a hearing to contest
   3 Defendant’s actions against Plaintiff’s property
   4                CLAIMS OF OTHER PERSONS SIMILARLY SITUATED
   5        65.      Plaintiff is informed and believes that the Defendant government, throughout
   6 the United States of America and its territories, has detained, seized, summarily forfeited
   7 and/or destroyed shipments of hemp plant materials 0.3% or less of THC imported by
   8 numerous other class members, sometimes merely because CBD was detected. The harms
   9 suffered by Plaintiff and the class members are directly traceable to the government’s
  10 misapplication of the law, and there is a likelihood of repetition of such harm to Plaintiff
  11 and the class members in the immediate future.
  12                                FIRST CAUSE OF ACTION
  13                   (Administrative Procedures Act, 5 U.S.C. §701 et seq.)
  14                 For an Injunction and/or Declaratory Relief ordering the
  15              government to not detain, seize, summarily forfeit or destroy any
  16                 future shipments of hemp plant materials containing CBD
  17                                 and/or 0.3% or less of THC
  18        66.      Plaintiff herein incorporates by reference the acts and omissions described
  19 in Paragraphs 1-65, above.
  20        67.      Because of the above-mentioned acts and omissions, the Defendants have
  21 violated the rights of Plaintiff, and the rights of all other persons similarly situated, in that
  22 Defendants acted and/or failed to act in their official capacity and/or under legal authority,
  23 by improperly detaining, seizing or destroying shipments of hemp plant materials
  24 containing CBD and/or 0.3% or less of THC.
  25        68.      Because of these aforementioned acts, and pursuant to the Administrative
  26 Procedures Act, 5 U.S.C. §701 et seq., through which the Defendants have ostensibly
  27 acted to conduct the above-referenced detentions, seizures, summary forfeitures and
  28                                                15
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   1 destruction of the property of Plaintiff and the class members, the Defendant government
   2 should be ordered not to detain, seize, summarily forfeit or destroy any future shipments
   3 of hemp plant materials containing 0.3% or less of THC, regardless of the CBD content.
   4                               SECOND CAUSE OF ACTION
   5                  (Administrative Procedures Act, 5 U.S.C. §701 et seq.;
   6                U.S. Constitution, Fifth Amendment Due Process Clause)
   7                   For an injunction and/or declaratory relief ordering
   8                Defendants to provide timely notice and a timely hearing
   9        69.    Plaintiff herein incorporates by reference the acts and omissions described
  10 in Paragraphs 1-65, above.
  11        70.    Because of the above-mentioned acts and omissions, Defendants have
  12 violated the rights of Plaintiff, and the rights of all other persons similarly situated, in that
  13 Defendants acted and/or failed to act in their official capacity and/or under legal authority,
  14 by failing to provide notice of the detention or seizure of hemp plant materials and a
  15 timely opportunity for a hearing to contest the detention and seizures to Plaintiffs and the
  16 class members, in violation of federal law.
  17        71.    Because of these aforementioned acts, and pursuant to the Administrative
  18 Procedures Act, 5 U.S.C. §701 et seq. and the U.S. Constitution, Fifth Amendment Due
  19 Process Clause, the Defendants should be ordered to provide all owners and shippers of
  20 detained or seized hemp plant materials with notice within seven (7) days of detention
  21 and/or seizure of any such shipment, and the opportunity for a hearing to contest the
  22 detention and/or seizure within 30 days of notice.
  23 ///
  24 ///
  25 ///
  26 ///
  27 ///
  28                                                16
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   1                                THIRD CAUSE OF ACTION
   2                  (Administrative Procedures Act, 5 U.S.C. §701 et seq.;
   3                U.S. Constitution, Fifth Amendment Due Process Clause)
   4              For declaratory and injunctive relief ordering Defendants to
   5       not destroy and return all detained, seized and forfeited hemp materials
   6        72.    Plaintiff herein incorporates by reference the acts and omissions described
   7 in Paragraphs 1-65, above.
   8        73.    Because of the abovementioned acts and omissions, the Defendants have
   9 violated the rights of Plaintiff, and the rights of all other persons similarly situated, in that
  10 Defendants acted and/or failed to act in their official capacity and/or under legal authority,
  11 by detaining, seizing and forfeiting their property while failing to provide notice to
  12 Plaintiffs and the class members and an opportunity for a hearing to contest the
  13 detentions, seizures, and forfeitures of shipments of hemp plant materials containing CBD
  14 and/or 0.3% or less of THC, in violation of the Fifth Amendment Due Process Clause of
  15 the United States Constitution.
  16        74. Because of these aforementioned acts and omissions, and pursuant to the
  17 Administrative Procedures Act, 5 U.S.C. §701 et seq. and the U.S. Constitution, Fifth
  18 Amendment Due Process Clause, Plaintiff requests that the Defendants be enjoined from
  19 destroying any such hemp shipments during the pendency of this action. Plaintiff further
  20 requests the Defendants be ordered to return all such hemp shipments forthwith.
  21                               FOURTH CAUSE OF ACTION
  22                  (Administrative Procedures Act, 5 U.S.C. §701 et seq.;
  23               U.S. Constitution, Fifth Amendment Due Process Clause;
  24                                    28 U.S.C. §1346(a)(2))
  25                       For reimbursement for the destruction of all
  26                              past shipments of hemp materials
  27        75.     Plaintiff herein incorporates by reference the acts and omissions described
  28                                                17
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   1 in Paragraphs 1-65, above.
   2        76.    Because of the above-mentioned acts and omissions, the Defendants have
   3 violated the rights of Plaintiff, and the rights of all other persons similarly situated, in that
   4 Defendants acted and/or failed to act in its official capacity and/or under legal authority,
   5 by detaining, seizing, summarily forfeiting and/or destroying shipments of hemp plant
   6 materials containing CBD and/or 0.3% or less of THC, in violation of the Fifth
   7 Amendment Due Process Clause of the United States Constitution.
   8        77.    Because of these aforementioned acts, and pursuant to the Administrative
   9 Procedures Act, 5 U.S.C. §701 et seq. and the U.S. Constitution, Fifth Amendment Due
  10 Process Clause, and 28 U.S.C. §1346(a)(2), the Defendants should be ordered to
  11 reimburse Plaintiff and all class members for the lost fair market value of their
  12 aforementioned shipped materials.
  13              BASIS FOR DECLARATORY AND INJUNCTIVE RELIEF
  14        78.    An actual controversy has arisen and now exists between Plaintiff and the
  15 Defendants in that Plaintiff contends, and the Defendants deny, that notice and an
  16 opportunity for a timely hearing to contest the government’s conduct must be provided
  17 as described herein.
  18        79.    Beginning six years before the date of the filing of the initial Complaint, and
  19 continuing to the present time, the Defendant government has unlawfully and wrongfully
  20 detained, seized, forfeited and/or destroyed the property of the representative Plaintiff and
  21 the class members, and failed to provide adequate notice and the opportunity for a timely
  22 hearing to contest this conduct pursuant to federal civil forfeiture and constitutional law.
  23 Defendants also have failed and refused to return the property that was detained, seized
  24 and/or forfeited in violation of federal law.
  25        80.    Defendants’ continuing wrongful conduct against Plaintiff and present and
  26 future class members, unless and until enjoined and restrained by order of this Court, will
  27 cause great and irreparable harm, in that the Defendants will continue to wrongfully
  28                                                 18
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   1 deprive class members of their property without providing the required federal statutory
   2 and constitutional remedies of timely notice and a timely opportunity to be heard.
   3           81.   Plaintiff and present and future class members have no adequate remedy at
   4 law for the harm that has been inflicted and that continues to be threatened, in that the
   5 Defendants do not provide for or offer an adequate federal administrative and/or judicial
   6 statutory remedy for aggrieved persons to protect their property.
   7                                    PRAYER FOR RELIEF
   8           WHEREFORE, Plaintiff, and all others similarly situated, pray for the following
   9 relief:
  10           a.    That the Court certify this action as a class action;
  11           b.    That judgment be entered on behalf of Plaintiff and all class members and
  12 against the Defendants, ordering them not to detain, seize, summarily forfeit or destroy
  13 any future shipments of hemp plant materials containing 0.3% or less of THC, regardless
  14 of the CBD content, as described herein;
  15           c.    That judgment be entered on behalf of Plaintiff and all class members and
  16 against the Defendants, ordering them to provide owners of shipped hemp plant materials
  17 with notice within seven (7) days of detention and/or seizure of any such shipment, and
  18 the opportunity for a hearing to contest the detention and/or seizure within 30 days of
  19 notice;
  20           d.    That judgment be entered on behalf of Plaintiff and all class members and
  21 against the Defendants, ordering them to return all such detained, seized and/or forfeited
  22 shipments forthwith;
  23           e.    That judgment be entered on behalf of Plaintiff and all class members and
  24 against the Defendants, enjoining them from destroying any such shipments during the
  25 pendency of this action;
  26           f.    That judgment be entered on behalf of Plaintiff and all class members and
  27 against the Defendants, ordering them to reimburse Plaintiff and all class members for the
  28                                                 19
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   1 lost fair market value of their aforementioned shipped materials
   2        g.    That Plaintiff and all class members be awarded their costs and reasonable
   3 attorneys' fees in this action, pursuant to 28 U.S.C. §2412, or as otherwise authorized by
   4 law and/or equity;
   5        h.    For a trial by jury; and
   6        I.    All other necessary, proper and appropriate legal and equitable relief.
   7
   8 Dated: June 28, 2018             Respectfully submitted,
   9                                  LAW OFFICE OF ERIC HONIG
                                      A Professional Law Corporation
  10
                                      PAUL L. GABBERT
  11
  12                                  CHERNIS LAW GROUP P.C.
  13
                                      /s/ Eric Honig
  14                                  ________________________________
                                      ERIC HONIG
  15                                  Attorneys for Plaintiff and the Class
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   1                               DEMAND FOR JURY TRIAL
   2               Plaintiffs hereby demand a trial by jury for all claims and causes of action
   3 to which they are entitled to a jury trial.
   4
   5 Dated: June 28, 2018               Respectfully submitted,
   6                                    LAW OFFICE OF ERIC HONIG
                                        A Professional Law Corporation
   7
                                        PAUL L. GABBERT
   8
                                        CHERNIS LAW GROUP P.C.
   9
  10                                    /s/ Eric Honig
                                        ________________________________
  11                                    ERIC HONIG
                                        Attorneys for Plaintiff and the Class
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